Case 1:20-cv-00541-REB-KLM Document 102 Filed 06/23/21 USDC Colorado Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-00541-REB-KLM

   ALAYNA ORDONEZ,
   EVAN ORDONEZ, and
   ELIJAH ORDONEZ,

          Plaintiffs,

   v.

   MARRIOT INTERNATIONAL,
   HIT SWN TRS, LLC,

        Defendants.
   _____________________________________________________________________

                               MINUTE ORDER
   _____________________________________________________________________
   ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

          This matter is before the Court sua sponte. In light of the recent discovery disputes,
   including the most recent email of June 22, 2021 by counsel, the Court is considering
   appointment of a Special Master for discovery. A notice regarding the appointment will be
   forthcoming. Accordingly,

         IT IS HEREBY ORDERED that the discovery hearing set on Monday, June 28, 2021,
   is VACATED.

          Dated: June 23, 2021
